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 1                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 2
 3   ANTHONY LEE,                                          )   Case No. 2:14-cv-00834-MMD(VCF)
                                                           )
 4          Plaintiff,                                     )
                                                           )
 5   v.                                                    )               ORDER
 6                                                         )
     NAVY FEDERAL CREDIT UNION et al.,                     )
 7                                                         )
            Defendants.                                    )
 8                                                         )
 9
10          This matter having come before the Court upon the Parties’ Joint Motion to Approve

11   Settlement, and in consideration of the record herein , and the Court having reviewed the parties’

12   settlement agreement, which was filed under seal with the Court, it is hereby:
13
            ORDERED that the parties’ settlement is approved and that the action is dismissed with
14
     prejudice, with the parties bearing his or its own attorneys’ fees and costs.
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17   Dated: _______________, 2015                  ___________________________________________
                                                   United States District Court Judge
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